Case 4:20-cr-00105-JEG-HCA Document2 Filed 07/14/20 Page 1 of 3

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IN THE UNITED STATES DISTRICT COURT CLERK OF DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA SOUTHERN DISTRICT OF fOWA
UNITED STATES OF AMERICA, ) Criminal] No. 4:20-CR-105
)
Vv. ) INDICTMENT
)
KHRISTA KAYE DERSHEM, ) T. 21 U.S.C. § 841(a)(1)
) T. 21 U.S.C. § 841(b)(1)(B)
Defendant. ) T. 21 U.S.C. § 846
) T. 21 U.S.C. § 853

THE GRAND JURY CHARGES:

COUNT 1
(Conspiracy to Distribute a Controlled Substance)

From a date unknown, but at least by June 2018, and continuing until July 19,
2018, in the Southern District of lowa, the defendant, KHRISTA KAYE DERSHEM,
conspired with persons known and unknown to the Grand Jury, to knowingly and
intentionally possess with intent to distribute and distribute a controlled substance,
namely, 50 grams or more of a mixture and substance containing a detectable dmount
of methamphetamine, and 5 grams or more of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

This is a violation of Title 21, United States Code, Sections 846 and

841(b)(1)(®).
Case 4:20-cr-00105-JEG-HCA Document 2 Filed 07/14/20 Page 2 of 3

THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Possession with Intent to Distribute a Controlled Substance)

On or about July 19, 2018, in the Southern District of Iowa, the defendant,
KHRISTA KAYE DERSHEM, did knowingly and intentionally possess with the
intent to distribute a controlled substance, namely, 50 grams or more of a mixture
and substance containing a detectable amount of methamphetamine, and 5 grams or
more of methamphetamine, a Schedule IT controlled substance.

This is a violation of Title 21, United States Code, Section 841(a)(1) and
841(b)(1)(B).

THE GRAND FINDS:

NOTICE OF FORFEITURE

That upon conviction of the offense set forth in Count[s] 1 and/or 2 of this
Indictment, the defendant, KHRISTA KAYE DERSHEM, shall forfeit, to the United
States, the following:

A. Proceeds. Any and all property constituting, and derived from, any

proceeds such defendant obtained, directly or indirectly, and as a result of such

violation, and

B. Facilitation. Any property used and intended to be used in any

manner, or part, to commit or to facilitate the commission of such violation.
The property to be forfeited includes, but is not limited to: approximately $1,318 in
U.S. currency, seized from a residence in the 1200 block of Lewis Avenue, Des Moines,

Iowa, on or about July 19, 2018.
Case 4:20-cr-00105-JEG-HCA Document 2 Filed 07/14/20 Page 3 of 3

This is pursuant to Title 21, United States Code, Section 853, and Rule
32.2(a) of the Federal Rules of Criminal Procedure.

A TRUE BILL.
FOREPERSON

Marc Krickbaum
United States Attorney

By: TOES SE Pri
Mikaela J. Shotwel
Assistant United States Attorney

